1. The motion, the refusal to grant which is assigned as error, must, in the absence of a demurrer, be treated as one to set aside a judgment and to arrest the same.
2. Treated technically as a motion to set aside the judgment, it was insufficient in so far as it was predicated upon facts which did not appear on the face of the record. Ayer v.  James, 120 Ga. 578 (48 S.E. 154), and cit.
3. In so far as the motion was one in arrest, it had, in the respect just pointed out, the same infirmity. Code, § 110-703.
4. The pleadings in the suit in which was rendered the judgment the movant sought to set aside were on their face not so defective as to make available the remedies provided for in the Code. §§ 110-702, 110-704. Paragraphs 14 and 15 of the petition in the suit last referred to did not on their face show that the issue therein raised had theretofore on the merits been adjudicated adversely to the contention of the plaintiff therein.
5. The paper in question can not be treated as a motion for new trial, because it was not accompanied by a brief of evidence.  Firemen's Insurance Co. v. Oliver, 176 Ga. 80
(167 S.E. 199), and cit.
6. Nor does it contain sufficient allegations to have it treated as a petition in equity, brought under the Code, § 110-710, to set aside the decree for fraud, accident, or mistake, or the acts of the adverse party unmixed with negligence or fault of the complainant. McCall v. Miller, 120 Ga. 262
(47 S.E. 920); Bank of Doerun v. Fain, 148 Ga. 799
(98 S.E. 467).
       No. 14157. SEPTEMBER 22, 1942. REHEARING DENIED OCTOBER 16, 1942.
The motion by Georgia Mae Stowers, the denial of which forms *Page 637 
the basis of the writ of error, attacked a decree rendered in a suit wherein Matilda Harris was plaintiff and Georgia Mae Stowers and Carl Stowers were defendants. The object of that suit was to enjoin Georgia Mae Stowers from disposing of certain property and from interfering with the plaintiff's possession thereof, and to require cancellation of a deed from Matilda Harris to Georgia Mae Stowers. Two paragraphs of the petition of Matilda Harris were as follows:
"14. Plaintiff shows that the defendant, Georgia Mae Stowers, has heretofore filed a dispossessory warrant against her in the civil court of Fulton County, to oust her from her said property, number of said action being 7280; thereafter plaintiff filed her suit in Fulton superior court to restrain said action filed in said civil court as aforesaid, and the same being numbered 125275, which action was dismissed without being adjudicated on its merits, and was dismissed by order of the court because the same was not amended as directed by the court; thereafter plaintiff by the same attorneys filed another action in this court, which action was and is a repetition of the first action numbered as aforesaid, each action asking that the action in said civil court be restrained and enjoined; said second action is numbered 132307, which action was also dismissed by the court on plea of res adjudicata filed by counsel for the defendant, Georgia Mae Stowers, to which ruling by the court dismissing said second suit counsel of record therein excepted and by bill of exceptions carried said second action to the Supreme Court of Georgia, and the same has now been dismissed by said Supreme Court; and plaintiff alleges that the merits of the questions alleged herein as to plaintiff's right in and to said property described hereinbefore has never been adjudicated; and unless this court will take cognizance hereof, plaintiff will lose her property and suffer an unrecoverable loss.
"15. Plaintiff shows that the two actions heretofore filed in this court and numbered as aforesaid, involving her said property, have never been adjudicated as aforesaid; the costs therein have not been paid, and because of her poverty she says that she has been advised and believes that she has a good cause for recommencing her action to have said deed produced and canceled as herein related."
On a hearing of the motion evidence was introduced, and the judge denied it. Georgia Mae Stowers excepted. *Page 638 
The pleading filed by the plaintiff in error, the refusal to grant which is assigned as error, was denominated by her as a "motion to set aside the verdict and judgment and arrest same." The prayers were: "1. That the verdict and judgment in this case be set aside. 2. Arrest of judgment in said matter." No demurrer was filed. The paper can not be treated as a motion for new trial, because it was not accompanied by a brief of evidence. Firemen's Insurance Co. v.Oliver, supra. Nor does it contain sufficient allegations to have it treated as a petition in equity brought under the Code, § 110-710, to set aside the decree for fraud, accident, or mistake, or the acts of the adverse party unmixed with negligence or fault of the complaintants. McCall v. Miller, 120 Ga. 262
(supra); Bank of Doerun v. Fain, 148 Ga. 799 (supra). Treated as a motion to set aside the judgment, or as a motion in arrest, or both, it is unavailable unless predicated upon facts appearing on the face of the record. Ayer v. James, 120 Ga. 578
(supra), and cit; Code, §§ 110-702, 110-703. Even if based on facts so appearing, the governing rule, crystalized into Code § 110-704, is: "If the pleadings are so defective that no legal judgment can be rendered thereon, the judgment will be arrested or set aside." A petition can not be said to be so defective that no legal judgment can be rendered thereon, when an amendment would have perfected it. See Oliver v. Firemen's InsuranceCo., 42 Ga. App. 99 (155 S.E. 227); Weems v. Kidd,37 Ga. App. 8 (138 S.E. 863). The language of the Code, § 110-705, is: "A judgment may not be arrested or set aside for any defect in the pleadings or record that is aided by verdict or amendable as matter of form."
A cause of action defectively set forth is a defect cured by verdict. Augusta  Summerville Railroad Co. v. Renz, 55 Ga. 126
(3). Where a general cause of action is set out and not demurred to, the judgment will not be arrested, although the elements of damages are insufficiently alleged. Moss v.Fortson, 99 Ga. 496 (27 S.E. 745). It was held by the Court of Appeals of this State, in Rollins v. Personal Finance Co.,49 Ga. App. 365 (175 S.E. 609), where many authorities are listed, that the failure in a petition in a trover suit to allege title or right of possession in the plaintiff was not ground for motion in arrest, the defect being *Page 639 
amendable. The sound rule on the subject was stated as follows: "A petition, although defective and although subject to general demurrer in that it omits to set forth all the necessary ingredients of a cause of action, will not render the judgment based thereon subject to the technical statutory remedy of a motion in arrest of judgment, unless it be that the petition shows on its face that a cause of action did not in fact exist, or that the petition is so utterly defective that it could not be amended at all, or that the defect in the petition is of such character as renders unenforceable or meaningless the verdict and judgment based thereon. This must be the rule, for the reason that, save for the exceptions stated, the defects in the pleadings are cured by the verdict, on the theory that there is a conclusive presumption that the jury had before it sufficient evidence to authorize the verdict on every essential ingredient, necessary for its rendition, which would have been admissible or relevant under any proper amendment."
It is contended that the motion to set aside and the motion in arrest here involved should be sustained because of what appears in paragraphs 14 and 15 of the petition on which the decree was rendered. The contents of those paragraphs are set forth above. If in any view of the matter those allegations can not be said to negative the cause of action the plaintiff elsewhere set out, the motion should be denied. The rule that pleadings are to be construed most strongly against the pleader is applicable before judgment, and can not be properly invoked when a petition is being examined in order to determine whether a motion in arrest should prevail. The two paragraphs above referred to show that there were two prior suits between the parties, concerning the same subject-matter, both of which were decided adversely to the defendant in error. This alone would not preclude her right to pursue the third time the same remedy on the same cause of action against the same party. In order for a prior adverse judgment to serve as an estoppel, it must have been an adjudication on the merits. Sumner v. Sumner, 186 Ga. 390 (197 S.E. 833). As to the first of the two prior suits, it is alleged that the "action was dismissed without being adjudicated on its merits, and was dismissed by order of the court because the same was not amended as directed by the court." It therefore appears that as to the first suit there was no adjudication on the merits. As to the second suit, it was alleged that *Page 640 
"thereafter plaintiff by the same attorneys filed another action in this court, which action was and is a repetition of the first action, numbered as aforesaid, . . which action was also dismissed by the court on a plea of res adjudicata; . . and plaintiff alleges that the merits of the questions alleged herein as to plaintiff's right in and to said property described hereinbefore has never been adjudicated." Fairly construed, the reference to the latter suit and the judgment thereon amounted to this: The first suit having been dismissed because a certain amendment required by the judge was not made, an identical second suit containing the same defect was filed. This second suit was met by a plea of res adjudicata. In view of what precedes, the statement that a plea of res adjudicata was filed and sustained can mean nothing more than that the plea of res adjudicata pointed out that an identical suit had been dismissed on technical grounds, and therefore that the plaintiff in the second suit, following the first, was estopped from again contending that her petition, lacking the suggested amendment, was good. In neither instance could it be said that the third suit contained allegations which showed that the plaintiff was concluded by the former adjudication from having the merits of his last suit passed upon. It was not error to dismiss the motion.
Judgment affirmed. All the Justices concur, except Reid, C.J., and Duckworth, J., who dissent.